USCA4 Appeal] 23-141 8 Doc: 85 Filed: 06/03/2024  Pg:1 of7

23-1418 —

Williarh Tong

OFFICE OF THE ATTORNEY GENERAL OF CONNECTICUT
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UNITED STATES COURT OF APPEALS

FOR THE FOURTH CIRCUIT
1100 East Main Street, Suite 501, Richmond, Virginia 23219

May 8, 2024

DOCKETING FORMS
FOLLOW-UP NOTICE

No. 2B-1418, State of West Virginia v. EPA
EPA-R03-OAR-2021-0873

TO: Wisconsin
Massachusetts
Illinois

New Jersey

New York

Harris County, Texas
District of Columbia
Pennsylvania
Connecticut
Maryland

City of New York

REQUESTED FORM DUE: May 13, 2024

The form(s) identified below must be filed in the clerk's office electronically by the
due date shown. The forms are available for completion as links from this notice
and at the court's Web site.

[M |] Appearance of counsel [eFiler status required]

Kirsten Hancock, Deputy Clerk
804-9 16-2704

USCA4 Appeal23-141 8 Doc: 85 Filed: 06/03/2024 Pg:3o0f7

FILED: May 8, 2024

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 23-1418
(EPA-R03-OAR-2021-0873)

STATIE OF WEST VIRGINIA
Petitioner

V.

UNITIED STATES ENVIRONMENTAL PROTECTION AGENCY; MICHAEL S.
REGAN, Administrator, United States Environmental Protection Agency

Respondents

APPALACHIAN MOUNTAIN CLUB; SIERRA CLUB; ENVIRONMENTAL
DEFENSE FUND

Amici Supporting Respondent

ORDER

Appalachian Mountain Club, Sierra Club, and Environmental Defense
Fund have filed an amicus curiae brief with the consent of the parties.

The court accepts the brief for filing.
For the Court--By Direction

/s/ Nwamaka Anowi, Clerk

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USCA4 Appealq23-1418 Doc: 85 Filed: 06/03/2024 Pg:4of7

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Vv.

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FILED: May 8, 2024

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

No. 23-1418
(EPA-R03-OAR-2021-0873)

rE OF WEST VIRGINIA

Petitioner

r-ED STATES ENVIRONMENTAL PROTECTION AGENCY; MICHAEL

S. REGAN, Administrator, United States Environmental Protection Agency

YOR

Peny

Respondents

ALACHIAN MOUNTAIN CLUB; SIERRA CLUB; ENVIRONMENTAL
ENSE FUND; NEW YORK; CONNECTICUT; ILLINOIS; MARYLAND;
SACHUSETTS; NEW JERSEY; PENNSYLVANIA; WISCONSIN;
T-RICT OF COLUMBIA; HARRIS COUNTY, TEXAS; CITY OF NEW

KK

Amici Supporting Respondent

ORDER

New York, Connecticut, Illinois, Maryland, Massachusetts, New Jersey,

sylvania, Wisconsin, District of Columbia, Harris County, Texas and

USCA4 Appeal:

City o

23-1418 Doc: 85 Filed: 06/03/2024 Pg:5of7

f New York have filed an amicus curiae brief.
he court accepts the brief for filing.
For the Court--By Direction

/s/ Nwamaka Anowi, Clerk

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CLERK’S OFFICE
U.S. COURT OF APPEALS
FOR THE FOURTH CIRCUIT
1100 E. MAIN STREET, SUITE 501
RICHMOND, VIRGINIA 23219

OFFICIAL BUSINESS

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